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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

GEORGIA GOOSEBERRY,                            )
                                               )
         Plaintiff,                            )
                                               )
vs.                                            )     Case No.
                                               )
MEDICREDIT, INC.,                              )
                                               )
         Defendant.                            )

                                    NOTICE OF REMOVAL

         Defendant Medicredit, Inc. (“Medicredit” or “Defendant”) hereby files its Notice of

Removal of the above-captioned case to this Court and, and in support of removal, respectfully

states as follows:

         1.      Medicredit is named as defendant in Civil Action No. 17SL-AC28773 filed in the

Circuit Court, Associate Division of Saint Louis County, Missouri, styled Georgia Gooseberry v.

Medicredit, Inc. (the “State Court Action”).

         2.      The Petition in the State Court Action was filed with the Clerk of the Circuit

Court, Associate Division of Saint Louis County on or about October 20, 2017; Medicredit was

served on November 3, 2017. Pursuant to 28 U.S.C. § 1446(a), copies of all process, pleadings

and orders served upon Defendant in the State Court Action are attached hereto as Exhibit A.

         3.      In the State Court Action, Plaintiff alleges that Defendant violated a federal

statute, the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”).

         4.      Any civil action is removable if the plaintiff could have originally brought the

action in federal court. See 28 U.S.C. § 1441(a).

         5.      Under 28 U.S.C. § 1331 this Court has original federal question jurisdiction over

Plaintiff’s FDCPA claims.
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        6.      Accordingly, pursuant to 28 U.S.C. § 1441(a), Defendant has the right to remove

the State Court Action to this Court, without regard to the citizenship or residency of the parties

or the amount in controversy.

        7.      Defendant was formally served with the Summons and Petition on November 3,

2017. This removal is therefore timely pursuant to 28 U.S.C. § 1446(b).

        8.      By this Notice of Removal, Defendant does not waive any defense, jurisdictional

or otherwise, which it may possess. Defendant also does not concede that Plaintiff has stated a

claim against it.

        WHEREFORE, in accordance with the authorities set forth above, Defendant hereby

removes this action from the Circuit Court, Associate Division of Saint Louis County, Missouri,

to the United States District Court for the Eastern District of Missouri.

        DATED this 30th day of November, 2017.

                                                  Respectfully submitted,
                                                  SPENCER FANE LLP

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                                 CERTIFICATE OF SERVICE
       I hereby certify that the foregoing document was filed electronically with the United
States District Court for the Eastern District of Missouri, this 30th day of November, 2017, with
a true copy mailed, first class postage prepaid, to:
       Richard A. Voytas, Jr.
       Ross & Voytas, LLC
       12444 Powerscourt Dr., Suite 370
       St. Louis, MO 63131
       Attorneys for Plaintiff
                                                   /s/ Ryan C. Hardy




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